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                                    EXHIBIT A

                                   Revised Order




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         IN THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
                                 DELAWARE

    In re:
                                                           Chapter 11
    WILLIAMS INDUSTRIAL SERVICES
    GROUP INC., et al.1                                    Case No. 23-10961-BLS

                                                           (Jointly Administered)
              Debtors.
                                                           Related Docket No. 227, 303

    FINAL ORDER (I) ESTABLISHING NOTICE AND HEARING PROCEDURES FOR
     TRADING IN OR DECLARATIONS OF WORTHLESSNESS WITH RESPECT TO
    EQUITY SECURITIES IN WILLIAMS INDUSTRIAL SERVICES GROUP INC. AND
                       (II) GRANTING RELATED RELIEF

             Upon the Motion of the Debtors for Interim and Final Orders Establishing Notice and

Hearing Procedures for Trading in or Declarations of Worthlessness with Respect to Equity

Securities in Williams Industrial Services Group Inc. (the “Motion”)2 of the above-captioned

debtors (the “Debtors”) for the entry of Interim and Final orders, pursuant to sections 105,

362(a)(3) and 541 of the Bankruptcy Code and Bankruptcy Rule 3001, establishing notice and

hearing procedures that must be satisfied before certain transfers of equity securities in Williams

Industrial Services Group Inc. (“Williams”), including Options to acquire such securities, as

defined below, or of any beneficial interest therein, are deemed effective, all as further described

in this Motion; and upon consideration of the First Day Declaration; and this Court having found

that (i) this Court has jurisdiction over the Debtors and their estates, and to consider the Motion



1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor's federal tax identification
number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666),
Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC
(9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925), Williams Global
Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power Professional Services, Inc.
(2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG Electrical Ltd. (B.N. 2116). The
location of the Debtors' corporate headquarters and service address is: 200 Ashford Center N, Suite 425, Atlanta, GA
30338.
2
  Capitalized terms used but not defined herein shall have the meaning given to them in the Motion.


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and the relief requested therein under 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order

of Reference from the United States District Court for the District of Delaware, dated February 29,

2012, (ii) this Court may enter a final order consistent with Article III of the United States

Constitution, (iii) this is a core proceeding under 28 U.S.C. § 157(b)(2)(A), (iv) venue of this

proceeding and the Motion in this District is proper under 28 U.S.C. §§ 1408 and 1409, and (v)

the Debtors’ notice of the Motion and opportunity for a hearing were adequate and appropriate

under the circumstances and no other or further notice need be provided; and this Court granting

the relief requested in the Motion on an interim basis [D.I. 303], having determined that the legal

and factual bases set forth in the Motion and the First Day Declaration establish just cause for the

relief granted in this Final Order; and this Court having found and determined that the relief sought

in the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in

interest; and after due deliberation and sufficient cause appearing therefore,

         IT IS HEREBY ORDERED THAT:

         1.    The Motion is GRANTED on a final basis as set forth herein.

         2.    Any purchase, sale, or other transfer of equity securities (including any transfer of

Options, as defined below, to acquire such securities or any exercise thereof) in Williams on or

after the Petition Date in violation of the procedures set forth herein (including the notice

requirements set forth in paragraph 3(a) below) shall be null and void ab initio as an act in violation

of the automatic stay under section 362 of the Bankruptcy Code. In the case of any such acquisition

or disposition of equity securities in violation of the procedures set forth herein, the person or

entity making such purchase, sale or other transfer shall be required to take remedial actions

specified by the Debtors, which may include the actions specified in Private Letter Ruling

201010009 (Dec. 4, 2009), to appropriately reflect that such transfer is null and void ab initio.




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         3.    The following procedures shall apply to trading in equity securities (including any

transfer of Options, as defined below, to acquire such securities or any exercise thereof) in

Williams:

               a)     Any person or entity (as defined in Treasury Regulations Section 1.382-
                      3(a)) who currently is or becomes a Substantial Shareholder (defined in
                      subparagraph (e) below) shall file with this Court, and serve on counsel to
                      the Debtors and counsel to the Committee a notice of such status, in the
                      form of Exhibit C-1 attached hereto, on or before the later of (i) 21 calendar
                      days after the date of the Notice of Interim Order or Notice of Final Order
                      (as defined below and as applicable) and (ii) fourteen (14) calendar days
                      after becoming a Substantial Shareholder. For the avoidance of doubt, the
                      other procedures set forth herein shall apply to any Substantial Equityholder
                      even if no notice has been filed pursuant to this subparagraph (a);

               b)     At least fourteen (14) calendar days prior to effectuating any transfer of
                      equity securities (including Options, as defined below, to acquire such
                      securities or any exercise thereof) that would result in an increase in the
                      amount of Williams Stock beneficially owned by a Substantial Shareholder
                      or would result in a person or entity becoming a Substantial Shareholder,
                      such Substantial Shareholder or potential Substantial Shareholder shall file
                      with this Court, and serve on counsel to the Debtors and counsel to the
                      Committee advance written notice, in the form of Exhibit C-2 attached
                      hereto, of the intended transfer of equity securities (including Options to
                      acquire such securities, as defined below);

               c)     At least fourteen (14) calendar days prior to effectuating any transfer of
                      equity securities (including Options, as defined below, to acquire such
                      securities) that would result in a decrease in the amount of Williams Stock
                      beneficially owned by a Substantial Shareholder or would result in a person
                      or entity ceasing to be a Substantial Shareholder, such Substantial
                      Shareholder shall file with this Court, and serve on counsel to the Debtors
                      and counsel to the Committee advance written notice, in the form of Exhibit
                      C-3 attached hereto, of the intended transfer of equity securities (the notices
                      required to be filed and served under subparagraph (c) and this
                      subparagraph (d), each a “Notice of Proposed Transfer”);

               d)     The Debtors and the Committee shall have seven (7) calendar days after
                      receipt of a Notice of Proposed Transfer to file with this Court and serve on
                      such Substantial Shareholder an objection to any proposed transfer of equity
                      securities (including Options, as defined below, to acquire such securities)
                      described in the Notice of Proposed Transfer on the grounds that such
                      transfer may adversely affect the Debtors’ ability to utilize their Tax
                      Attributes. During such 7-day period, and while any objection by the
                      Debtors (or any other party in interest) to the proposed transfer is pending,


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                          such Substantial Shareholder shall not effectuate the proposed transfer to
                          which the Notice of Proposed Transfer relates and thereafter shall do so only
                          in accordance with the Court’s ruling, and, as applicable, any appellate rules
                          and procedures. If neither the Debtors nor the Committee objects within
                          such 7-day period, such transaction may proceed solely as set forth in the
                          Notice of Proposed Transfer. Further transactions within the scope of this
                          subparagraph (e) must be the subject of additional notices as set forth herein,
                          with an additional 7-day waiting period; and

                 e)       For purposes of these procedures, (A) a “Substantial Shareholder” is any
                          person or entity (as defined in Treasury Regulations Section 1.382-3(a))
                          which beneficially owns at least 4.50% of all issued and outstanding shares
                          (equal to, as of the Petition Date, approximately 1,224,467.60 shares)3 of
                          the common stock of Williams (“Williams Stock”) and (B) “beneficial
                          ownership” (of any variation thereof) of Williams Stock and Options to
                          acquire Williams Stock shall be determined by the Debtors, in accordance
                          with applicable rules under Section 382, Treasury Regulations promulgated
                          thereunder (other than Treasury Regulations Section 1.382-2T(h)(2)(i)(A))
                          (that treats stock of an entity as to which the constructive ownership rules
                          apply as no longer owned by that entity) and rulings issued by the Internal
                          Revenue Service, and thus, to the extent provided therein, from time to time
                          shall include, without limitation, (i) direct, indirect and constructive
                          ownership (e.g., (1) a holding company would be considered to beneficially
                          own all shares owned or acquired by its subsidiaries, (2) a partner in a
                          partnership would be considered to beneficially own its proportionate share
                          of any equity securities owned by such partnership, (3) an individual and
                          such individual’s family members may be treated as one individual, (4)
                          persons and entities acting in concert to make a coordinated acquisition of
                          equity securities may be treated as a single entity, and (5) a holder would be
                          considered to beneficially own equity securities that such holder has an
                          Option (as defined herein) to acquire). An “Option” to acquire stock
                          includes all interests described in Treasury Regulations Section 1.382-
                          4(d)(9), including any contingent purchase right, warrant, convertible debt,
                          put, call, stock subject to risk of forfeiture, contract to acquire stock, or
                          similar interest, regardless of whether it is contingent or otherwise not
                          currently exercisable.

                 4.       Any declaration of worthlessness of equity securities of Williams (including

Options to acquire such securities) on or after the Petition Date in violation of the procedures set

forth herein (including notice requirements) shall be null and void ab initio as an act in violation



3
 Based on approximately 4.50% of 27,210,391 shares of Williams Stock issued and outstanding as of the Petition
Date.


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of the automatic stay under sections 362 and 105(a) of the Bankruptcy Code. In the case of any

declaration of worthlessness with respect to beneficial ownership of the equity securities of

Williams, the person or entity making such declaration shall be required to file an amended tax

return revoking such declaration and any related deduction to appropriately reflect that such

declaration is void ab initio.

         5.    The following procedures shall apply to declarations of worthlessness with respect

to equity securities (including Options, as defined below, to acquire such securities) of Williams:

                a)      Any person or entity that currently is or becomes a 50% Shareholder
                        (defined in subparagraph (d) below) must file with this Court and serve on
                        counsel to the Debtors and counsel to the Committee advance written
                        notice, in the form of Exhibit C-4 attached hereto, on or before the later of
                        (i) 21 calendar days after the date of the Notice of Interim Order or Notice
                        of Final Order (as defined below and as applicable), and (ii) fourteen (14)
                        calendar days after becoming a 50% Shareholder;

                b)      Prior to filing any federal or state tax return or any amendment to such a
                        return that claims any deduction for worthlessness of beneficial ownership
                        of Williams Stock for a tax year ending before the Debtors’ emergence from
                        chapter 11 protection, such 50% Shareholder must file with this Court and
                        serve on counsel to the Debtors and counsel to the Committee a Declaration
                        of Intent to Claim a Worthless Stock Deduction, substantially in the form
                        annexed hereto as Exhibit C-5;

                c)      The Debtors and the Committee will have seven (7) calendar days after
                        receipt of a Declaration of Intent to Claim a Worthless Stock Deduction to
                        file with this Court and serve on such 50% Shareholder an objection to any
                        proposed claim of worthlessness described in the Declaration of Intent to
                        Claim a Worthless Stock Deduction on the grounds that such transfer may
                        adversely affect the Debtors’ ability to utilize their Tax Attributes. During
                        such 7-day period, and while any objection by the Debtors or the Committee
                        (or any other party in interest) to the proposed transfer is pending, such 50%
                        Shareholder shall not file the return or amendment to which the Declaration
                        of Intent to Claim a Worthless Stock Deduction relates and thereafter shall
                        do so only in accordance with the Court’s ruling, and, as applicable, any
                        appellate rules and procedures. If neither the Debtors nor the Committee
                        objects within such 7-day period, the filing of the return or amendment with
                        such claim will be permitted solely as described in the Declaration of Intent
                        to Claim a Worthless Stock Deduction; and




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               d)       For purposes of these procedures, “50% Shareholder” is any person or entity
                        that has beneficially owned 50 percent or more of the equity securities of
                        Williams during the time frame determined in accordance with IRC §
                        382(g)(4)(D) and the applicable Treasury Regulations thereunder.

         6.     The Debtors may waive, in writing, in their reasonable discretion following

consultation with the Committee, any and all restrictions, stays and notification procedures

contained in this Final Order; provided, however, the Debtors shall provide notice of any such

waiver to (i) the Office of the United States Trustee for Region 3 (the “U.S. Trustee”) and (ii)

counsel to the Committee in writing within three business days thereafter.

         7.    The Debtors shall serve the Notice of Final Order setting forth the procedures

authorized herein substantially in the form attached hereto as Exhibit C-6 (the “Notice of

Final Order”) to: (a) the Office of the United States Trustee for Region 3; (b) creditors holding the

twenty (20) largest unsecured claims against the Debtors; (c) the Office of the United States

Attorney for the District of Delaware; (d) the Internal Revenue Service; (e) the Securities &

Exchange Commission; (f) all Nominees; (g) the transfer agent(s) for the Williams Stock, as

applicable; (h) all known Substantial Shareholders, if any; and (i) all parties that have filed a notice

of appearance and request for service of papers pursuant to Bankruptcy Rule 2002.

         8.    Any person or entity (or broker or agent acting on their behalf) who sells at least

1,224,467.60 shares (approximately 4.50% of all issued and outstanding shares of Williams Stock),

or an Option with respect thereto, to another person or entity shall be required to provide the Notice

of Final Order to such purchaser to such purchaser (or its agent), to the extent reasonably feasible.

         9.     The requirements set forth in the Final Order are in addition to the requirements of

Bankruptcy Rule 3001(e) and applicable securities, corporate and other laws, and do not excuse

compliance therewith.




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         10.    The Debtors are authorized and empowered to take all actions they deem necessary

to implement and effectuate the relief granted in this Final Order.

         11.    Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a), if applicable, and the Local

Rules are satisfied by such notice. Notwithstanding the applicability of Bankruptcy Rule 6004(h),

the terms and conditions of this Final Order shall be effective and enforceable immediately upon

its entry.

         12.    The Debtors are authorized to take and perform all actions they deem necessary to

implement the relief granted in this Final Order.

         13.    This Court retains jurisdiction to hear and determine all matters arising from or

related to the implementation, or interpretation, or enforcement of this Interim Order.




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                                    EXHIBIT C-1

                     Notice of Status as a Substantial Shareholder




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:
                                                               Chapter 11
    WILLIAMS INDUSTRIAL SERVICES
    GROUP INC., et al.1                                        Case No. 23-10961-BLS

                                                               (Jointly Administered)
              Debtors.
                                                               Re: D.I. 227, 303, __

                  NOTICE OF STATUS AS A SUBSTANTIAL SHAREHOLDER2

             PLEASE TAKE NOTICE THAT, the undersigned party is or has become a Substantial

Shareholder with respect to the equity securities or of any Beneficial Ownership therein (as defined

herein and in the Final Order Establishing Notice and Hearing Procedures for Trading in or

Declarations of Worthlessness with Respect to Equity Securities in Williams Industrial Services

Group Inc. (the “Order”) of Williams Industrial Services Group Inc. (“Williams”), a debtor in Case



1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor's federal tax identification
number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666),
Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC
(9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925), Williams Global
Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power Professional Services, Inc.
(2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG Electrical Ltd. (B.N. 2116). The
location of the Debtors' corporate headquarters and service address is: 200 Ashford Center N, Suite 425, Atlanta, GA
30338.
2
  For purposes of this Notice, (A) a “Substantial Shareholder” is any person or entity (as defined in Treasury
Regulations Section 1.382-3(a)) which beneficially owns at least 4.50% of all issued and outstanding shares (equal to,
as of the Petition Date, approximately 1,224,467.60 shares)2 of the common stock of Williams (“Williams Stock”)
and (B) “beneficial ownership” (of any variation thereof) of Williams Stock and Options to acquire Williams Stock
shall be determined by the Debtors, in accordance with applicable rules under Section 382, Treasury Regulations
promulgated thereunder (other than Treasury Regulations Section 1.382-2T(h)(2)(i)(A) (that treats stock of an entity
as to which the constructive ownership rules apply as no longer owned by that entity) and rulings issued by the Internal
Revenue Service, and thus, to the extent provided therein, from time to time shall include, without limitation, (i) direct,
indirect and constructive ownership (e.g., (1) a holding company would be considered to beneficially own all shares
owned or acquired by its subsidiaries, (2) a partner in a partnership would be considered to beneficially own its
proportionate share of any equity securities owned by such partnership, (3) an individual and such individual’s family
members may be treated as one individual, (4) persons and entities acting in concert to make a coordinated acquisition
of equity securities may be treated as a single entity, and (5) a holder would be considered to beneficially own equity
securities that such holder has an Option (as defined herein) to acquire). An “Option” to acquire stock includes all
interests described in Treasury Regulations Section 1.382-4(d)(9), including any contingent purchase right, warrant,
convertible debt, put, call, stock subject to risk of forfeiture, contract to acquire stock, or similar interest, regardless
of whether it is contingent or otherwise not currently exercisable.


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No. 23-10961 (BLS) pending in the United States Bankruptcy Court for the District of Delaware

(the “Court”).

         PLEASE TAKE FURTHER NOTICE THAT, as of [                          ], the undersigned party

currently has Beneficial Ownership of [           ] shares of Williams Stock (including any Options

with respect to Williams Stock). The following table sets forth the date(s) on which the

undersigned party acquired Beneficial Ownership or otherwise has Beneficial Ownership of such

Williams Stock:

                 Number of Shares                                   Date Acquired




         [Attach additional page if necessary.]

         The undersigned party holds such Williams Stock through a bank, broker, intermediary, or

other agent (a “Nominee”), in “street name,” with the below Nominee, identified by such

Nominee’s “Participant Number” with the Depository Trust Company (“DTC”):

                  Name of Nominee                          Nominee’s DTC Participant Number



         PLEASE TAKE FURTHER NOTICE THAT, the last four digits of the taxpayer

identification number of the undersigned party are [ ].

         PLEASE TAKE FURTHER NOTICE THAT, under penalty of perjury, the undersigned

party hereby declares that it has examined this Notice and accompanying attachments (if any), and,

to the best of their knowledge and belief, this Notice and any attachments which purport to be part

of this Notice are true, correct, and complete.




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         PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Order, this Notice is being

(a) filed with the Court and (b) served upon counsel to the Debtors and counsel to the official

committee of unsecured creditors (the “Committee”).



                                           Respectfully Submitted,




                                           (Name of Shareholder)



                             By:           _____________________________
                             Name:         _____________________________
                             Title:        _____________________________
                             Address:      _____________________________

                             Telephone:    _____________________________
                             Facsimile:    _____________________________
                             Date:         _____________________________




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                                    EXHIBIT C-2

                      Notice of Intent to Acquire Equity Interest




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:
                                                             Chapter 11
    WILLIAMS INDUSTRIAL SERVICES
    GROUP INC., et al.1                                      Case No. 23-10961-BLS

                                                             (Jointly Administered)
             Debtors.
                                                             Re: D.I. 227, 303, __

               NOTICE OF INTENT TO PURCHASE, ACQUIRE OR OTHERWISE
                          ACCUMULATE AN EQUITY INTEREST

             PLEASE TAKE NOTICE THAT, the undersigned party hereby provides notice of its

intention to purchase, acquire or otherwise accumulate one or more shares of the equity securities

or of any Beneficial Ownership therein (as defined herein and in the Final Order Establishing

Notice and Hearing Procedures for Trading in or Declarations of Worthlessness with Respect to

Equity Securities in Williams Industrial Services Group Inc. (the “Order”) of Williams Industrial

Services Group Inc. (“Williams”), or an Option with respect thereto (as defined herein and in the

Order) (the “Proposed Transfer”).

             PLEASE TAKE FURTHER NOTICE THAT, if applicable, on [Prior Date(s)], the

undersigned party filed a Notice of Status as a Substantial Shareholder2 with the United States


1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor's federal tax identification
number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666),
Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC
(9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925), Williams Global
Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power Professional Services, Inc.
(2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG Electrical Ltd. (B.N. 2116). The
location of the Debtors' corporate headquarters and service address is: 200 Ashford Center N, Suite 425, Atlanta, GA
30338.
2
  For purposes of this Notice, (A) a “Substantial Shareholder” is any person or entity (as defined in Treasury
Regulations Section 1.382-3(a)) which beneficially owns at least 4.50% of all issued and outstanding shares (equal to,
as of the Petition Date, approximately 1,224,467.60 shares)2 of the common stock of Williams (“Williams Stock”)
and (B) “beneficial ownership” (of any variation thereof) of Williams Stock and Options to acquire Williams Stock
shall be determined by the Debtors, in accordance with applicable rules under Section 382, Treasury Regulations
promulgated thereunder (other than Treasury Regulations Section 1.382-2T(h)(2)(i)(A) (that treats stock of an entity
as to which the constructive ownership rules apply as no longer owned by that entity) and rulings issued by the Internal


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Bankruptcy Court for the District of Delaware (the “Court”) and served copies thereof on counsel

to the Debtors and counsel to the official committee of unsecured creditors (the “Committee”).

         PLEASE TAKE FURTHER NOTICE THAT the undersigned party currently has

Beneficial Ownership of [             ] shares of Williams Stock (including any Options with respect to

Williams Stock). The undersigned party holds such Williams Stock through a bank, broker,

intermediary, or other agent (a “Nominee”), in “street name,” with the below Nominee, identified

by such Nominee’s “Participant Number” with the Depository Trust Company (“DTC”):

                    Name of Nominee                                  Nominee’s DTC Participant Number



         PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Proposed Transfer, the

undersigned party proposes to purchase, acquire, or otherwise accumulate Beneficial Ownership

of [ ] shares of Williams Stock or an Option with respect to [ ] shares of Williams Stock. If the

Proposed Transfer is permitted to occur, the undersigned party will have Beneficial Ownership of

[ ] shares of Williams Stock (including any Options with respect to Williams Stock) after such

transfer becomes effective.

         PLEASE TAKE FURTHER NOTICE THAT, the last four digits of the taxpayer

identification or social security number of the undersigned party are [●].




Revenue Service, and thus, to the extent provided therein, from time to time shall include, without limitation, (i) direct,
indirect and constructive ownership (e.g., (1) a holding company would be considered to beneficially own all shares
owned or acquired by its subsidiaries, (2) a partner in a partnership would be considered to beneficially own its
proportionate share of any equity securities owned by such partnership, (3) an individual and such individual’s family
members may be treated as one individual, (4) persons and entities acting in concert to make a coordinated acquisition
of equity securities may be treated as a single entity, and (5) a holder would be considered to beneficially own equity
securities that such holder has an Option (as defined herein) to acquire). An “Option” to acquire stock includes all
interests described in Treasury Regulations Section 1.382-4(d)(9), including any contingent purchase right, warrant,
convertible debt, put, call, stock subject to risk of forfeiture, contract to acquire stock, or similar interest, regardless
of whether it is contingent or otherwise not currently exercisable.


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         PLEASE TAKE FURTHER NOTICE THAT, under penalty of perjury, the undersigned

party hereby declares that it has examined this Notice and accompanying attachments (if any), and,

to the best of its knowledge and belief, this Notice and any attachments which purport to be part

of this Notice are true, correct, and complete.

         PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Order, this Notice is being

(a) filed with the Court and (b) served upon counsel to the Debtors and counsel to the official

committee of unsecured creditors (the “Committee”).

         PLEASE TAKE FURTHER NOTICE THAT the Debtors and the Committee have

fourteen (14) calendar days after receipt of this Notice to object to the Proposed Transfer described

herein. If either the Debtors or the Committee files an objection, such Proposed Transfer will not

be effective unless approved by a final and non- appealable order of the Court. If neither the

Debtors nor the Committee objects within such 14-day period, then after expiration of such period

the Proposed Transfer may proceed solely as set forth in this Notice.

         PLEASE TAKE FURTHER NOTICE THAT, any further transactions contemplated by

the undersigned party that may result in the undersigned party purchasing, acquiring or otherwise

accumulating Beneficial Ownership of additional shares of Williams Stock (or an Option with

respect thereto) will each require an additional notice filed with the Court to be served in the same

manner as this Notice.

                                              Respectfully Submitted,


                                              (Name of Shareholder)

                               By:            _____________________________
                               Name:          _____________________________
                               Title:         _____________________________
                               Address:       _____________________________




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                          Telephone:   _____________________________
                          Facsimile:   _____________________________
                          Date:        _____________________________




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                                     EXHIBIT C-3

                      Notice of Intent to Transfer Equity Interest




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:
                                                             Chapter 11
    WILLIAMS INDUSTRIAL SERVICES
    GROUP INC., et al.1                                      Case No. 23-10961-BLS

                                                             (Jointly Administered)
              Debtors.
                                                             Re: D.I. 227, 303, [___]

             NOTICE OF INTENT TO SELL, TRADE OR OTHERWISE TRANSFER AN
                                  EQUITY INTEREST

             PLEASE TAKE NOTICE THAT, the undersigned party hereby provides notice of its

intention to sell, trade or otherwise transfer one or more shares of the equity securities or of any

Beneficial Ownership therein (as defined herein and in the Final Order Establishing Notice and

Hearing Procedures for Trading in or Declarations of Worthlessness with Respect to Equity

Securities in Williams Industrial Services Group Inc. (the “Order”) of Williams Industrial Services

Group Inc. (“Williams”), or an Option with respect thereto (as defined herein and in the Order)

(the “Proposed Transfer”).

             PLEASE TAKE FURTHER NOTICE THAT, if applicable, on [Prior Date(s)], the

undersigned party filed a Notice of Status as a Substantial Shareholder2 with the United States


1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor's federal tax identification
number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666),
Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC
(9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925), Williams Global
Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power Professional Services, Inc.
(2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG Electrical Ltd. (B.N. 2116). The
location of the Debtors' corporate headquarters and service address is: 200 Ashford Center N, Suite 425, Atlanta, GA
30338.
2
  For purposes of this Notice, (A) a “Substantial Shareholder” is any person or entity (as defined in Treasury
Regulations Section 1.382-3(a)) which beneficially owns at least 4.50% of all issued and outstanding shares (equal to,
as of the Petition Date, approximately 1,224,467.60 shares)2 of the common stock of Williams (“Williams Stock”)
and (B) “beneficial ownership” (of any variation thereof) of Williams Stock and Options to acquire Williams Stock
shall be determined by the Debtors, in accordance with applicable rules under Section 382, Treasury Regulations
promulgated thereunder (other than Treasury Regulations Section 1.382-2T(h)(2)(i)(A) (that treats stock of an entity
as to which the constructive ownership rules apply as no longer owned by that entity) and rulings issued by the Internal


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Bankruptcy Court for the District of Delaware (the “Court”) and served copies thereof on counsel

to the Debtors and counsel to the official committee of unsecured creditors (the “Committee”).

         PLEASE TAKE FURTHER NOTICE THAT, the undersigned party currently has

Beneficial Ownership of [             ] shares of Williams Stock (including any Options with respect to

Williams Stock). The undersigned party holds such Williams Stock through a bank, broker,

intermediary, or other agent (a “Nominee”), in “street name,” with the below Nominee, identified

by such Nominee’s “Participant Number” with the Depository Trust Company (“DTC”):

             Name of Nominee                                             Nominee’s DTC Participant Number




         PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Proposed Transfer, the

undersigned party proposes to sell, trade or otherwise transfer Beneficial Ownership of [ ] shares

of Williams Stock or an Option with respect to [ ] shares of Williams Stock. If the Proposed

Transfer is permitted to occur, the undersigned party will have Beneficial Ownership of [ ] shares

of Williams Stock (including any Options with respect to Williams Stock) after such transfer

becomes effective.

         PLEASE TAKE FURTHER NOTICE THAT, that the last four digits of the taxpayer

identification or social security number of the undersigned party are [●].




Revenue Service, and thus, to the extent provided therein, from time to time shall include, without limitation, (i) direct,
indirect and constructive ownership (e.g., (1) a holding company would be considered to beneficially own all shares
owned or acquired by its subsidiaries, (2) a partner in a partnership would be considered to beneficially own its
proportionate share of any equity securities owned by such partnership, (3) an individual and such individual’s family
members may be treated as one individual, (4) persons and entities acting in concert to make a coordinated acquisition
of equity securities may be treated as a single entity, and (5) a holder would be considered to beneficially own equity
securities that such holder has an Option (as defined herein) to acquire). An “Option” to acquire stock includes all
interests described in Treasury Regulations Section 1.382-4(d)(9), including any contingent purchase right, warrant,
convertible debt, put, call, stock subject to risk of forfeiture, contract to acquire stock, or similar interest, regardless
of whether it is contingent or otherwise not currently exercisable.


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         PLEASE TAKE FURTHER NOTICE THAT, under penalty of perjury, the undersigned

party hereby declares that it has examined this Notice and accompanying attachments (if any), and,

to the best of its knowledge and belief, this Notice and any attachments which purport to be part

of this Notice are true, correct, and complete.

         PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Order, this Notice is being

(a) filed with the Court and (b) served upon counsel to the Debtors and counsel to the official

committee of unsecured creditors (the “Committee”).

         PLEASE TAKE FURTHER NOTICE THAT the Debtors and the Committee have

fourteen (14) calendar days after receipt of this Notice to object to the Proposed Transfer described

herein. If either the Debtors or the Committee files an objection, such Proposed Transfer will not

be effective unless approved by a final and non- appealable order of the Court. If neither the

Debtors nor the Committee objects within such 14-day period, then after expiration of such period

the Proposed Transfer may proceed solely as set forth in this Notice.

         PLEASE TAKE FURTHER NOTICE THAT, any further transactions contemplated by

the undersigned party that may result in the undersigned party selling, trading, or otherwise

transferring Beneficial Ownership of additional shares of Williams Stock (or an Option with

respect thereto) will each require an additional notice filed with the Court to be served in the same

manner as this Notice.

                                              Respectfully Submitted,


                                              (Name of Shareholder)

                               By:            _____________________________
                               Name:          _____________________________
                               Title:         _____________________________
                               Address:       _____________________________




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                          Telephone:   _____________________________
                          Facsimile:   _____________________________
                          Date:        _____________________________




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                                     EXHIBIT C-4

                       Declaration of Status as a 50% Shareholder




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:
                                                                Chapter 11
    WILLIAMS INDUSTRIAL SERVICES
    GROUP INC., et al.1                                         Case No. 23-10961-BLS

                                                                (Jointly Administered)
              Debtors.
                                                                Re: D.I. 227, 303, [___]


                    DECLARATION OF STATUS AS A 50% SHAREHOLDER2

             PLEASE TAKE NOTICE, that the undersigned party is/has become a 50% Shareholder

with respect to shares of the equity securities or of any Beneficial Ownership therein (as defined

herein and in the Final Order Establishing Notice and Hearing Procedures for Trading in or

Declarations of Worthlessness with Respect to Equity Securities in Williams Industrial Services



1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor's federal tax identification
number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666),
Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC
(9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925), Williams Global
Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power Professional Services, Inc.
(2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG Electrical Ltd. (B.N. 2116). The
location of the Debtors' corporate headquarters and service address is: 200 Ashford Center N, Suite 425, Atlanta, GA
30338.
2
  For purposes of this Declaration, (A) a “50% Shareholder” is any person or entity that has beneficially owned 50
percent or more of the equity securities of Williams during the time frame determined in accordance with IRC §
382(g)(4)(D) and the applicable Treasury Regulations thereunder; and (B) “beneficial ownership” (of any variation
thereof) of Williams Stock and Options to acquire Williams Stock shall be determined by the Debtors, in accordance
with applicable rules under Section 382, Treasury Regulations promulgated thereunder (other than Treasury
Regulations Section 1.382-2T(h)(2)(i)(A) (that treats stock of an entity as to which the constructive ownership rules
apply as no longer owned by that entity) and rulings issued by the Internal Revenue Service, and thus, to the extent
provided therein, from time to time shall include, without limitation, (i) direct, indirect and constructive ownership
(e.g., (1) a holding company would be considered to beneficially own all shares owned or acquired by its subsidiaries,
(2) a partner in a partnership would be considered to beneficially own its proportionate share of any equity securities
owned by such partnership, (3) an individual and such individual’s family members may be treated as one individual,
(4) persons and entities acting in concert to make a coordinated acquisition of equity securities may be treated as a
single entity, and (5) a holder would be considered to beneficially own equity securities that such holder has an Option
(as defined herein) to acquire). An “Option” to acquire stock includes all interests described in Treasury Regulations
Section 1.382-4(d)(9), including any contingent purchase right, warrant, convertible debt, put, call, stock subject to
risk of forfeiture, contract to acquire stock, or similar interest, regardless of whether it is contingent or otherwise not
currently exercisable.



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Group Inc. (the “Order”) of Williams Industrial Services Group Inc. (“Williams”), or an Option

with respect thereto (as defined herein and in the Order).


         PLEASE TAKE FURTHER NOTICE THAT, as of [                          ], the undersigned party

currently has Beneficial Ownership of [           ] shares of Williams Stock (including any Options

with respect to Williams Stock). The following table sets forth the date(s) on which the

undersigned party acquired Beneficial Ownership or otherwise has Beneficial Ownership of such

Williams Stock:

                Number of Shares                                    Date Acquired




         [Attach additional page if necessary.]

         The undersigned party holds such Williams Stock through a bank, broker, intermediary, or

other agent (a “Nominee”), in “street name,” with the below Nominee, identified by such

Nominee’s “Participant Number” with the Depository Trust Company (“DTC”):

                  Name of Nominee                          Nominee’s DTC Participant Number



         PLEASE TAKE FURTHER NOTICE THAT, the last four digits of the taxpayer

identification number of the undersigned party are [ ].

         PLEASE TAKE FURTHER NOTICE THAT, under penalty of perjury, the undersigned

party hereby declares that it has examined this Declaration and accompanying attachments (if any),

and, to the best of their knowledge and belief, this Declaration and any attachments which purport

to be part of this Declaration are true, correct, and complete.




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         PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Order, this Declaration is

being (a) filed with the Court and (b) served upon counsel to the Debtors and counsel to the official

committee of unsecured creditors (the “Committee”).




                                              Respectfully Submitted,




                                              (Name of Shareholder)



                               By:            _____________________________
                               Name:          _____________________________
                               Title:         _____________________________
                               Address:       _____________________________

                               Telephone:     _____________________________
                               Facsimile:     _____________________________
                               Date:          _____________________________




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                                      EXHIBIT C-5

                Declaration of Intent to Claim a Worthless Stock Deduction




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:
                                                            Chapter 11
    WILLIAMS INDUSTRIAL SERVICES
    GROUP INC., et al.1                                     Case No. 23-10961-BLS

                                                            (Jointly Administered)
             Debtors.
                                                            Re: D.I. 227, 303, [___]


     DECLARATION OF INTENT TO CLAIM A WORTHLESS STOCK DEDUCTION2
             PLEASE TAKE NOTICE, that the undersigned party hereby provides notice of its

intention to claim a worthless stock deduction (the “Proposed Worthlessness Claim”) with respect

to one or more shares of the equity securities of Williams Industrial Services Group Inc.

(“Williams”), or an Option with respect thereto (as defined herein and in the Final Order




1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor's federal tax identification
number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666),
Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC
(9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925), Williams Global
Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power Professional Services, Inc.
(2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG Electrical Ltd. (B.N. 2116). The
location of the Debtors' corporate headquarters and service address is: 200 Ashford Center N, Suite 425, Atlanta, GA
30338.
2
  For purposes of this Declaration, (A) a “50% Shareholder” is any person or entity that has beneficially owned 50
percent or more of the equity securities of Williams during the time frame determined in accordance with IRC §
382(g)(4)(D) and the applicable Treasury Regulations thereunder; and (B) “beneficial ownership” (of any variation
thereof) of Williams Stock and Options to acquire Williams Stock shall be determined by the Debtors, in accordance
with applicable rules under Section 382, Treasury Regulations promulgated thereunder (other than Treasury
Regulations Section 1.382-2T(h)(2)(i)(A) (that treats stock of an entity as to which the constructive ownership rules
apply as no longer owned by that entity) and rulings issued by the Internal Revenue Service, and thus, to the extent
provided therein, from time to time shall include, without limitation, (i) direct, indirect and constructive ownership
(e.g., (1) a holding company would be considered to beneficially own all shares owned or acquired by its
subsidiaries, (2) a partner in a partnership would be considered to beneficially own its proportionate share of any
equity securities owned by such partnership, (3) an individual and such individual’s family members may be treated
as one individual, (4) persons and entities acting in concert to make a coordinated acquisition of equity securities
may be treated as a single entity, and (5) a holder would be considered to beneficially own equity securities that such
holder has an Option (as defined herein) to acquire). An “Option” to acquire stock includes all interests described in
Treasury Regulations Section 1.382-4(d)(9), including any contingent purchase right, warrant, convertible debt, put,
call, stock subject to risk of forfeiture, contract to acquire stock, or similar interest, regardless of whether it is
contingent or otherwise not currently exercisable.


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Establishing Notice and Hearing Procedures for Trading in or Declarations of Worthlessness with

Respect to Equity Securities in Williams Industrial Services Group Inc. (the “Order”)).

         PLEASE TAKE FURTHER NOTICE THAT, if applicable, on [Prior Date(s)], the

undersigned party filed a Notice of Status as a 50% Shareholder with the United States Bankruptcy

Court for the District of Delaware (the “Court”) and served copies thereof on counsel to the

Debtors and counsel to the official committee of unsecured creditors (the “Committee”).

         PLEASE TAKE FURTHER NOTICE THAT the undersigned party currently has

Beneficial Ownership of [      ] shares of Williams Stock (including any Options with respect to

Williams Stock). The undersigned party holds such Williams Stock through a bank, broker,

intermediary, or other agent (a “Nominee”), in “street name,” with the below Nominee, identified

by such Nominee’s “Participant Number” with the Depository Trust Company (“DTC”):

             Name of Nominee                               Nominee’s DTC Participant Number




         PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Proposed Worthlessness

Claim, the undersigned party proposes declare for [federal/state] tax purposes that [ ] shares of

Williams Stock or an Option with respect to [ ] shares of Williams Stock have become worthless.

         PLEASE TAKE FURTHER NOTICE THAT, that the last four digits of the taxpayer

identification or social security number of the undersigned party are [●].

         PLEASE TAKE FURTHER NOTICE THAT, under penalty of perjury, the undersigned

party hereby declares that it has examined this Notice and accompanying attachments (if any), and,

to the best of its knowledge and belief, this Notice and any attachments which purport to be part

of this Notice are true, correct, and complete.




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         PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Order, this Notice is being

(a) filed with the Court and (b) served upon counsel to the Debtors and counsel to the official

committee of unsecured creditors (the “Committee”).

         PLEASE TAKE FURTHER NOTICE THAT the Debtors and the Committee have

seven (7) calendar days after receipt of this Declaration to object to the Proposed Worthlessness

Claim described herein. If either the Debtors or the Committee files an objection, such Proposed

Worthlessness Claim will not be effective unless approved by a final and non- appealable order of

the Court. If neither the Debtors nor the Committee objects within such 7-day period, then after

expiration of such period the Proposed Worthlessness Claim may proceed solely as set forth in this

Declaration.

         PLEASE TAKE FURTHER NOTICE THAT any further claims of worthlessness

contemplated by the undersigned party will each require an additional notice filed with the Court

to be served in the same manner as this Declaration.

                                             Respectfully Submitted,


                                             (Name of Shareholder)

                              By:            _____________________________
                              Name:          _____________________________
                              Title:         _____________________________
                              Address:       _____________________________

                              Telephone:     _____________________________
                              Facsimile:     _____________________________
                              Date:          _____________________________




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                                    EXHIBIT C-6


                             NOTICE OF FINAL ORDER




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In re:
                                                             Chapter 11
 WILLIAMS INDUSTRIAL SERVICES
 GROUP INC., et al.14                                        Case No. 23-10961-BLS

                                                             (Jointly Administered)
             Debtors.
                                                             Re: D.I. [___]

             NOTICE OF ENTRY OF FINAL ORDER, ESTABLISHING NOTICE
        AND HEARING PROCEDURES FOR TRADING IN OR DECLARATIONS OF
            WORTHLESSNESS WITH RESPECT TO EQUITY SECURITIES
               IN WILLIAMS INDUSTRIAL SERVICES GROUP, INC.

          PLEASE TAKE NOTICE THAT, on July 22, 2023 (the “Petition Date”), the above-

captioned debtors and debtors in possession (the “Debtors”) each commenced a case under chapter

11 of title 11 of the United States Code (the “Bankruptcy Code”). Subject to certain exceptions,

section 362 of the Bankruptcy Code operates as a stay of any act to obtain possession of property

of the Debtors’ estates or of property from the Debtors’ estates or to exercise control over property

of the Debtors’ estates.

          PLEASE TAKE FURTHER NOTICE THAT, on August 29, 2023, the Debtors filed a

motion (the “Motion”)2 seeking entry of an Interim Order and Final Order pursuant to sections

105, 362, and 541 of the Bankruptcy Code establishing notice and hearing procedures for trading




14
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor's federal tax identification
number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666),
Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC
(9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925), Williams Global
Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power Professional Services, Inc.
(2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG Electrical Ltd. (B.N. 2116). The
location of the Debtors' corporate headquarters and service address is: 200 Ashford Center N, Suite 425, Atlanta, GA
30338.


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in and declarations of worthlessness with respect to equity securities in Williams Industrial

Services Group Inc. (“Williams”).

         PLEASE TAKE FURTHER NOTICE THAT, on September 7, 2023, the United

States Bankruptcy Court for the District of Delaware (the “Court”) entered that certain Interim

Order Establishing Notice and Hearing Procedures for Trading in or Declarations of

Worthlessness with Respect to Equity Securities in Williams Industrial Services Group Inc.,

approving the procedures set forth below in order to preserve the Tax Attributes held by the

Debtors (the “Interim Order”).

         PLEASE TAKE FURTHER NOTICE THAT, on September __, 2023, the Court entered

that certain Final Order Establishing Notice and Hearing Procedures for Trading in or

Declarations of Worthlessness with Respect to Equity Securities in Williams Industrial Services

Group Inc., approving the procedures set forth below to preserve the Tax Attributes held by the

Debtors (the “Final Order”).

         PLEASE TAKE FURTHER NOTICE THAT pursuant to the Final Order, the following

procedures shall apply to holding and trading in equity securities (including Options to acquire

such securities, as defined below) of Williams:

         1.     Any purchase, sale, or other transfer of equity securities (including Options to

acquire such securities, as defined below) in Williams on or after the Petition Date in violation of

the procedures set forth herein (including the notice requirements set forth in paragraph 3(a) below)

shall be null and void ab initio as an act in violation of the automatic stay under section 362 of the

Bankruptcy Code. In the case of any such acquisition or disposition of equity securities in violation

of the procedures set forth herein, the person or entity making such transfer shall be required to

take remedial actions specified by the Debtors, which may include the actions specified in Private




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Letter Ruling 201010009 (Dec. 4, 2009), to appropriately reflect that such transfer is null and void

ab initio.

         2.     The following procedures shall apply to trading in equity securities (including

Options to acquire such securities, as defined below) in Williams:

                a)     Any person or entity (as defined in Treasury Regulations Section 1.382-
                       3(a)) who currently is or becomes a Substantial Shareholder (defined in
                       subparagraph (e) below) shall file with this Court, and serve on counsel to
                       the Debtors and counsel to the Committee a notice of such status, in the
                       form of Exhibit C-1 attached to the Final Order, on or before the later of (i)
                       twenty-one (21) calendar days after the date of the Notice of Interim Order
                       or Notice of Final Order (as defined below and as applicable) and (ii)
                       fourteen (14) calendar days after becoming a Substantial Shareholder. For
                       the avoidance of doubt, the other procedures set forth herein shall apply to
                       any Substantial Equityholder even if no notice has been filed pursuant to
                       this subparagraph (a);

                b)     At least fourteen (14) calendar days prior to effectuating any transfer of
                       equity securities (including Options, as defined below, to acquire such
                       securities or any exercise thereof) that would result in an increase in the
                       amount of Williams Stock beneficially owned by a Substantial Shareholder
                       or would result in a person or entity becoming a Substantial Shareholder,
                       such Substantial Shareholder or potential Substantial Shareholder shall file
                       with this Court, and serve on counsel to the Debtors and counsel to the
                       Committee advance written notice, in the form of Exhibit C-2 attached to
                       the Final Order, of the intended transfer of equity securities (including
                       Options to acquire such securities, as defined below);

                c)     At least fourteen (14) calendar days prior to effectuating any transfer of
                       equity securities (including Options, as defined below, to acquire such
                       securities) that would result in a decrease in the amount of Williams Stock
                       beneficially owned by a Substantial Shareholder or would result in a person
                       or entity ceasing to be a Substantial Shareholder, such Substantial
                       Shareholder shall file with this Court, and serve on counsel to the Debtors
                       and counsel to the Committee advance written notice, in the form of Exhibit
                       C-3 attached to the Final Order, of the intended transfer of equity securities
                       (the notices required to be filed and served under subparagraph (c) and this
                       subparagraph (d), each a “Notice of Proposed Transfer”);

                d)     The Debtors and the Committee shall have seven (7) calendar days after
                       receipt of a Notice of Proposed Transfer to file with this Court and serve on
                       such Substantial Shareholder an objection to any proposed transfer of equity
                       securities (including Options, as defined below, to acquire such securities)
                       described in the Notice of Proposed Transfer on the grounds that such


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                         transfer may adversely affect the Debtors’ ability to utilize their Tax
                         Attributes. During such 7-day period, and while any objection by the
                         Debtors (or any other party in interest) to the proposed transfer is pending,
                         such Substantial Shareholder shall not effectuate the proposed transfer to
                         which the Notice of Proposed Transfer relates and thereafter shall do so only
                         in accordance with the Court’s ruling, and, as applicable, any appellate rules
                         and procedures. If neither the Debtors nor the Committee objects within
                         such 7-day period, such transaction may proceed solely as set forth in the
                         Notice of Proposed Transfer. Further transactions within the scope of this
                         subparagraph (e) must be the subject of additional notices as set forth herein,
                         with an additional 7-day waiting period; and

                 e)      For purposes of these procedures, (A) a “Substantial Shareholder” is any
                         person or entity (as defined in Treasury Regulations Section 1.382-3(a))
                         which beneficially owns at least 4.50% of all issued and outstanding shares
                         (equal to, as of the Petition Date, approximately 1,224,467.60 shares)15 of
                         the common stock of Williams (“Williams Stock”) and (B) “beneficial
                         ownership” (of any variation thereof) of Williams Stock and Options to
                         acquire Williams Stock shall be determined by the Debtors, in accordance
                         with applicable rules under Section 382, Treasury Regulations promulgated
                         thereunder (other than Treasury Regulations Section 1.382-2T(h)(2)(i)(A))
                         (that treats stock of an entity as to which the constructive ownership rules
                         apply as no longer owned by that entity) and rulings issued by the Internal
                         Revenue Service, and thus, to the extent provided therein, from time to time
                         shall include, without limitation, (i) direct, indirect and constructive
                         ownership (e.g., (1) a holding company would be considered to beneficially
                         own all shares owned or acquired by its subsidiaries, (2) a partner in a
                         partnership would be considered to beneficially own its proportionate share
                         of any equity securities owned by such partnership, (3) an individual and
                         such individual’s family members may be treated as one individual, (4)
                         persons and entities acting in concert to make a coordinated acquisition of
                         equity securities may be treated as a single entity, and (5) a holder would be
                         considered to beneficially own equity securities that such holder has an
                         Option (as defined herein) to acquire). An “Option” to acquire stock
                         includes all interests described in Treasury Regulations Section 1.382-
                         4(d)(9), including any contingent purchase right, warrant, convertible debt,
                         put, call, stock subject to risk of forfeiture, contract to acquire stock, or
                         similar interest, regardless of whether it is contingent or otherwise not
                         currently exercisable.




15
 Based on approximately 4.50% of 27,210,391shares of Williams Stock issued and outstanding as of the Petition
Date.


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         PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Final Order, the following

procedures shall apply to declarations of worthlessness with respect to equity securities (including

Options to acquire such securities) of Williams:

         1.     Any declaration of worthlessness of equity securities of Williams (including

Options to acquire such securities) on or after the Petition Date in violation of the procedures set

forth herein (including notice requirements) shall be null and void ab initio as an act in violation

of the automatic stay under sections 362 and 105(a) of the Bankruptcy Code. In the case of any

declaration of worthlessness with respect to beneficial ownership of the equity securities of

Williams, the person or entity making such declaration shall be required to file an amended tax

return revoking such declaration and any related deduction to appropriately reflect that such

declaration is void ab initio.

         2.     The following procedures shall apply to declarations of worthlessness with respect

to equity securities (including Options to acquire such securities) of Williams:

                a) Any person or entity that currently is or becomes a 50% Shareholder (defined
                   in subparagraph (d) below) must file with this Court and serve on counsel to the
                   Debtors and counsel to the Committee advance written notice, in the form of
                   Exhibit C-4 attached hereto, on or before the later of (i) 21 calendar days after
                   the date of the Notice of Interim Order or Notice of Final Order (as defined
                   below and as applicable), and (ii) fourteen (14)calendar days after becoming a
                   50% Shareholder;

                b) Prior to filing any federal or state tax return or any amendment to such a return
                   that claims any deduction for worthlessness of beneficial ownership of
                   Williams Stock for a tax year ending before the Debtors’ emergence from
                   chapter 11 protection, such 50% Shareholder must file with this Court and serve
                   on counsel to the Debtors and counsel to the Committee a Declaration of Intent
                   to Claim a Worthless Stock Deduction, substantially in the form annexed to the
                   Final Order as Exhibit C-5;

                c) The Debtors and the Committee shall have seven (7) calendar days after receipt
                   of a Declaration of Intent to Claim a Worthless Stock Deduction to file with
                   this Court and serve on such 50% Shareholder an objection to any proposed
                   claim of worthlessness described in the Declaration of Intent to Claim a
                   Worthless Stock Deduction on the grounds that such transfer may adversely


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                  affect the Debtors’ ability to utilize their Tax Attributes. During such 7-day
                  period, and while any objection by the Debtors or the Committee (or any other
                  party in interest) to the proposed transfer is pending, such 50% Shareholder
                  shall not file the return or amendment to which the Declaration of Intent to
                  Claim a Worthless Stock Deduction relates and thereafter shall do so only in
                  accordance with the Court’s ruling, and, as applicable, any appellate rules and
                  procedures. If neither the Debtors nor the Committee objects within such 7-day
                  period, the filing of the return or amendment with such claim will be permitted
                  solely as described in the Declaration of Intent to Claim a Worthless Stock
                  Deduction; and

               d) For purposes of these procedures, “50% Shareholder” is any person or entity
                  that has beneficially owned 50 percent or more of the equity securities of
                  Williams during the time frame determined in accordance with IRC §
                  382(g)(4)(D) and the applicable Treasury Regulations thereunder.

         PLEASE TAKE FURTHER NOTICE THAT, upon the request of any person, counsel

to the Debtors will provide a form of each of the required notices described above.

         PLEASE TAKE FURTHER NOTICE THAT, a copy of the Final Order is available on

the website of Epiq Corporate Restructuring, LLC, the Debtors’ court-approved claims agent,

located at https://dm.epiq11.com/case/williamsindustrialservicesgroup/info. The Order is also

available on the docket of these Chapter 11 Cases, Case No. 23-10961-BLS, which can be

accessed via PACER at https://www.pacer.gov.

FAILURE TO FOLLOW THE PROCEDURES SET FORTH IN THIS NOTICE SHALL
CONSTITUTE A VIOLATION OF, AMONG OTHER THINGS, THE AUTOMATIC
STAY PRESCRIBED BY SECTION 362 OF THE BANKRUPTCY CODE. ANY
PROHIBITED PURCHASE, ACQUISITION, ACCUMULATION, SALE, TRADE, OR
OTHER TRANSFER OF WILLIAMS STOCK, OR ANY BENEFICIAL OWNERSHIP
THEREIN, IN VIOLATION OF THE INTERIM ORDER SHALL BE NULL AND VOID
AB INITIO AND MAY BE PUNISHED BY CONTEMPT OR OTHER SANCTIONS
IMPOSED BY THE COURT.

         PLEASE TAKE FURTHER NOTICE THAT the requirements set forth in this Notice

of Final Order are in addition to the requirements of Bankruptcy Rule 3001(e) and applicable

securities, corporate, and other laws, and do not excuse compliance therewith.

                          [Remainder of page intentionally left blank]



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 Dated: September 16, 2023.          /s/
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